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                      IN THE UNITED STATES DISTRICT COURT
                      FOR THE SOUTHERN DISTRICT OF TEXAS
                                HOUSTON DIVISION

INTEGRANET PHYSICIAN          §
RESOURCE, INC. d/b/a          §
INTEGRANET HEALTH,            §
                              §
      Plaintiff,              §
                              §
v.                            §                     CIVIL ACTION NO.
                              §
TEXAS INDEPENDENT PROVIDERS, §
LLC; ROBERT VINCENT ROTH ;    §
CARLOS J. PALACIOS, M.D.; and §
WELLCARE OF TEXAS, INC.,      §
                              §
      Defendants.             §

                                  NOTICE OF REMOVAL

       Pursuant to 28 U.S.C. §§ 1441, 1442, and 1446, Defendant WellCare of Texas, Inc.

(“WellCare”) hereby removes this action from the 295th Judicial District Court of Harris County,

Texas, Cause No. 2018-26085 (the “State Court Action”), to the United States District Court for

the Southern District of Texas, Houston Division. This Notice of Removal is supported as set

forth below.

                  PROCEDURAL REQUIREMENTS FOR REMOVAL ARE SATISFIED

       1.      On April 18, 2018, Plaintiff IntegraNet Physician Resource, Inc. d/b/a IntegraNet

Health (“Plaintiff” or “INET”) filed Plaintiff’s Original Verified Petition, Application for

Temporary Restraining Order, and Application for Injunctive Relief (the “Petition”) in the 295th

Judicial District Court of Harris County, Texas, styled IntegraNet Physician Resource, Inc. d/b/a

IntegraNet Health, Plaintiff, v. Texas Independent Providers, LLC, Robert Vincent Roth, Carlos

J. Palacios, M.D., and WellCare of Texas, Inc., Defendants, Cause No. 2018-26085 (the “State

Court Action”).



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       2.      Because WellCare’s removal is pursuant to 28 U.S.C. § 1442, the Federal Officer

Statute, consent of the other defendants named in the case is not required as a prerequisite to

removal. See Freeze v. Coastal Bend Foot Specialist, No. C-06-481, 2006 U.S. Dist. LEXIS

87156, at *10 (S.D. Tex. Dec. 1, 2006).

       3.      In compliance with 28 USC § 1446(a) and Local Rule 81, a true and correct copy

of (1) Index of Matters Being Filed; (2) Copies of documents on file in the State Court Action,

Cause No. 2018-26085 with the Harris County District Clerk including the Docket Sheet, all

executed process in the case, pleadings asserting causes of action, and all orders signed by the state

judge; (3) List of All Counsel of Record; and (4) Federal Civil Cover Sheet is attached hereto as

Exhibit A.

       4.      Plaintiff filed the Petition on April 18, 2018. WellCare accepted service of process

of the Petition on April 25, 2018. Consequently, this notice of removal is timely filed under 28

U.S.C. § 1446(b) within 30 days of service of the initial pleading setting forth the claim for relief.

       5.      No responsive pleadings have been filed by WellCare and WellCare expressly

reserves its rights under Federal Rule of Civil Procedure 81 to answer or present other defenses or

objections in accordance with the Federal Rules of Civil Procedure, including but not limited to

enforcing the arbitration provision in the parties’ agreement.

       6.      Except as otherwise expressly provided by Act of Congress, any civil action

brought in a State court of which the district courts of the United States have original jurisdiction

may be removed to the district court of the United States for the district and division embracing

the place where the action is filed. See 28 U.S.C. § 1441. The Houston Division of the Southern

District of Texas is the United States district and division embracing Harris County, Texas, the

county in which Plaintiff’s state court Petition was filed, and is pending, and the Houston Division




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is the proper venue for removal of state court actions pending in Harris County. See 28 U.S.C. §

124(b)(2).

       7.      As required by 28 U.S.C. §1446(d), WellCare, the removing party, hereby promptly

gives all parties written notice of the filing of this Notice of Removal, and files a copy of this

Notice of Removal with the Clerk of the 295th Judicial District Court of Harris County, Texas,

where the action is currently pending.

                     NATURE OF ACTION AND PROCEDURAL BACKGROUND

       8.      On April 18, 2018, Plaintiff filed its Petition in state court. The Petition identifies

INET as “an independent physician practice association (‘IPA’),” and provides further that “IPAs

are networks of physicians created to facilitate cooperation with health insurance companies and

the federal government through the Centers for Medicare and Medicaid Services (‘CMS’), part of

the U.S. Department of Health and Human Services[.]” Ex. A-1, Pet., at ¶ 8.

       9.      WellCare is a Medicare Advantage Organization that administers benefits under

the Medicare Act to Medicare beneficiaries that elect to enroll in its Medicare Advantage plans.

Exhibit B, Declaration of Erin Page, at ¶¶ 3-5. WellCare has contracted with CMS to administer

Medicare benefits, on behalf of the federal government, through its Medicare Advantage plans.

Id. WellCare then entered into an agreement with INET for its contracted providers to provide

treatment to members of WellCare’s Medicare Advantage plans. Id. at ¶ 7.

       10.     On or about February 27, 2018, WellCare provided INET with written notice of

termination of the WellCare-INET Agreement. Ex. A-1, Pet., at ¶ 21. By its own terms, however,

the WellCare-INET Agreement is still in effect and will terminate on June 30, 2018 after the

expiration of the 120-day notice period provided by WellCare. Ex. B at ¶ 8. Subsequently,

WellCare received concerning information that INET and several of INET’s physicians were




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contacting WellCare’s Medicare members to sell them on another Medicare Advantage plan in

violation of CMS guidelines (as well as the WellCare-INET agreement). Id. at ¶ 10. Pursuant to

CMS’ Medicare Marketing Guidelines, which WellCare is bound to follow, plans like WellCare

“may not allow contracted providers to,” among other things, “[m]ake phone calls or direct, urge

or attempt to persuade beneficiaries to enroll in a specific plan based on financial or other interests

of the provider[.]” CMS, Medicare Marking Guidelines, § 70.5.11; see also 42 CFR § 422.2268(e)

and (j). Acting pursuant to CMS rules, WellCare sent INET and the offending providers letters

urging them to stop violating these rules. Ex. B at ¶ 11; see also id. at Ex. 1 (letters quoting CMS

guidelines). As stated in the Petition, INET agrees that “[u]nder CMS regulations (as well as the

WellCare contract itself), INET was required to not interfere with any patient enrollment upon

WellCare’s termination of the contract.” Ex. A-1, Pet., at ¶ 22.

        11.     INET’s Petition alleges that by sending these cease-and-desist letters to individual

providers, WellCare engaged in tortious interference and unfair competition. Ex. A-1, Pet., at ¶¶

24-38. The Petition further seeks to enjoin WellCare from 1) “improperly soliciting, attempting

to solicit, influencing, or attempting to influence any and all of the physicians that comprise

INET’s physician network,” and 2) “making any disparaging remarks about INET or its

employees, members, managers, or affiliates in public or to any of INET’s physician members or

their patients.” Id. at ¶¶ 63(c)-(d).

        12.     Based on these allegations, on April 18, 2018 (the very same day its Petition was

filed and with WellCare having an hour’s notice), INET obtained a temporary restraining order

(“TRO”) precluding WellCare “from contacting physicians in INET’s IPA network[,]” except

“within the ordinary course and scope of business.” Ex. A-1, TRO, at 1. By its own terms, the


1
    The Medicare Marketing Guidelines are available at https://www.cms.gov/Medicare/Health-
Plans/ManagedCareMarketing/Downloads/CY-2018-Medicare-Marketing-Guidelines_Final072017.pdf


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TRO “shall expire exactly fourteen (14) days from the date and hour of its signing” unless

otherwise extended. Id. at 2.

       13.     As discussed below, this Court has jurisdiction under the Federal Officer Statute

because INET’s Petition alleged that WellCare acted improperly with respect to the letters that it

sent in its capacity as a Medicare Advantage Organization following the direction provided by

CMS. WellCare has the federal defense that it was complying with governing federal rules at the

time that it sent the letters. Further, INET’s requested injunction could impede WellCare from

complying with its obligations as a Medicare Advantage Organization, including requiring

contracted providers to comply with Medicare rules, ensuring that members of its Medicare

Advantage plans have an adequate number of contracted providers from which to seek treatment

and notifying those members whose providers have terminated of the termination in a timely

fashion so that they may seek treatment from a different contracted provider of their choice.

       14.     WellCare also has federal defenses that INET’s state law claims are preempted by

the express preemption provision in the Medicare Act because it is seeking to impose state law

standards on a Medicare Advantage organization governed by federal law and are preempted by

the doctrine of conflict preemption.

                                            ARGUMENT

I. This Action is Removable under the Federal Officer Statute.

       A.      The Federal Officer Statute Is a Broad Removal Statute.

       15.     The Federal Officer Statute permits removal of any action against:

               The United States or any agency thereof or any officer (or any
               person acting under that officer) of the United States or of any
               agency thereof, in an official or individual capacity, for or relating
               to any act under color of such office or on account of any right, title
               or authority claimed under any Act of Congress for the apprehension
               or punishment of criminals or the collection of the revenue.



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28 U.S.C. § 1442(a)(1).

       16.     “The purpose of the removal statute is to prevent federal officers or persons acting

under their direction from being tried in state courts for acts done within the scope of their federal

employment.” Peterson v. Blue Cross/Blue Shield, 508 F.2d 55, 58 (5th Cir. 1975). The U.S.

Supreme Court has fashioned “a broad application of the statute[.]” Id. (citing Willingham v.

Morgan, 395 U.S. 402, 405 (1969)). The statute “serves to overcome the ‘well-pleaded complaint’

rule which would otherwise preclude removal even if a federal defense were alleged.” Mesa v.

California, 489 U.S. 121, 136–37 (1989) (citation omitted).

       17.     The Supreme Court has consistently emphasized that “[t]he federal officer statute

is not ‘narrow’ or ‘limited,’” Willingham, 395 U.S. at 406 (emphasis added), and it has “rejected

a ‘narrow, grudging interpretation’” of that statute. Jefferson County v. Acker, 527 U.S. 423, 431

(1999). Instead, the statute “must be ‘liberally construed’” in favor of removal. Watson v. Philip

Morris Co., 551 U.S. 142, 147 (2007). Courts within the Fifth Circuit continue to conclude that

“the ‘acting under’ requirement in 28 U.S.C. § 1442(a)(1) is broad and should be liberally

construed.” Beaumont Foot Specialists, Inc. v. United Healthcare of Tex., Inc., No. 1:15-cv-216,

2015 U.S. Dist. LEXIS 170755, at *10 (E.D. Tex. Dec. 14, 2015) (citing Watson, 551 U.S. at 147).

This liberal interpretation is consistent with the statute’s purpose, which is “to prevent federal

officers or persons acting under their direction from being tried in state courts for acts done within

the scope of their federal employment.” Peterson, 508 F.2d at 58.

       18.     To remove on the basis of the Federal Officer Statute, a defendant must show:

               (1) the defendant is a ‘person’ within the meaning of the statute; (2)
               the defendant acted pursuant to a federal officer’s directions, and
               there is a causal nexus between the defendants’ actions under color
               of federal office and the plaintiff’s claims; and (3) the defendant is
               asserting a ‘colorable federal defense’ to the plaintiff’s claims.




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Beaumont Foot Specialists, 2015 U.S. Dist. LEXIS 170755, at *6; see also Winters v. Diamond

Shamrock Chem. Co., 149 F.3d 387, 397-400 (5th Cir. 1998).

         B.     WellCare Is A “Person” Under the Federal Officer Statute.

         19.    The Fifth Circuit has consistently held that corporations are “persons” within the

meaning of the Federal Officer Statute. See, e.g., Winters, 149 F.3d at 398. As discussed below,

WellCare meets each of the remaining elements in light of its role as a Medicare Advantage

Organization.

         C.     WellCare Acted Pursuant to CMS’s directions, and there is a causal nexus
                between WellCare’s actions under color of federal office and Plaintiff’s
                Claims.

         20.    Medicare Advantage Organizations administering Medicare Advantage plans are

entitled to removal under the Federal Officer Statute because, as courts in the Fifth Circuit and

elsewhere have long recognized, “Medicare insurance carriers act under federal direction for

purposes of § 1442(a)(1).” General Surgical Assocs., P.A. v. Humana Health Plan of Tex., No.

SA-14-CA-31-OLG, 2014 U.S. Dist. LEXIS 189291, at *13 (W.D. Tex. Apr. 21, 2014), adopted,

2015 U.S. Dist. LEXIS 181009 (W.D. Tex. Feb. 4, 2015); see also Peterson, 508 F.2d at 57;

Beaumont Foot Specialists, 2015 U.S. Dist. LEXIS 170755, at *8-15; accord Assocs. Rehab.

Recovery, Inc. v. Humana Med. Plan, Inc., 76 F. Supp. 3d 1388, 1391-92 (S.D. Fla. 2014); Cupp

v. Johns, No. 2:14-cv-02016, 2014 U.S. Dist. LEXIS 30537, at *3 (W.D. Ark. Mar. 10, 2014);

Einhorn v. Careplus Health Plans, Inc., 43 F. Supp. 3d 1268, 1270 (S.D. Fla. 2014); Mann v.

Reeder, No. 1:10-CV-00133-JHM, 2010 U.S. Dist. LEXIS 134821, at *9-12 (W.D. Ky. Dec. 21,

2010).

         21.    WellCare contracts with the federal agency, CMS, to administer Medicare

Advantage plans as a Medicare Advantage Organization. Ex. B at ¶¶ 3-5. The Petition admits




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that “IPAs are networks of physicians created to facilitate cooperation with health insurance

companies and the federal government through the Centers for Medicare and Medicaid Services

(“CMS”), part of the U.S. Department of Health and Human Services[.]” Ex. A-1, Pet., at ¶ 8.

       22.     Under the Medicare Act, Congress established a federally subsidized health

insurance program that is administered by the Secretary of the United States Department of Health

and Human Services (“HHS”). See Heckler v. Ringer, 466 U.S. 602, 605 (1984). Medicare

beneficiaries may elect to receive their Medicare benefits through Medicare Parts A and B (also

known as “Original Medicare fee for service”), or a Medicare Advantage plan pursuant to

Medicare Part C. 42 U.S.C. § 1395w-21(a)(1)(A)-(B); 42 U.S.C. §§ 1395w-21(a)(1)(B), 1395w-

22 et seq.

       23.     The Secretary of the HHS (the “Secretary”) has delegated the responsibility for

administering the Medicare program to CMS. See generally Internet Only Manuals (IOMs),

CENTERS      FOR   MEDICARE & MEDICAID SERVICES, http://www.cms.gov/Regulations-and-

Guidance/Guidance/Manuals/Internet-Only-Manuals-IOMs.html (last visited April 27, 2018). For

beneficiaries electing to receive coverage under Medicare Part C, CMS delegates the

administration of Medicare benefits to Medicare Advantage Organizations contracted with CMS.

See 42 U.S.C. § 1395w-27.

       24.     As a Medicare Advantage Organization, WellCare assists the Secretary and CMS

in carrying out a basic governmental task—providing federal healthcare benefits to Medicare

beneficiaries by, among other things, reimbursing providers for medically necessary services,

items and equipment provided to Medicare beneficiaries. Absent WellCare’s contracts with CMS,

the federal government would have to perform this task itself. See 42 U.S.C. §§ 1395d, 1395k; 42

C.F.R. § 410.3(a).




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          25.       CMS directs and controls how Medicare Advantage Organizations like WellCare

administer Medicare benefits through CMS’s contract with the organization, its detailed and

comprehensive federal regulatory scheme and regularly-issued guidance by CMS. Beaumont Foot

Specialists, 2015 U.S. Dist. LEXIS 170755, at *7-9; see also General Surgical Assocs., 2014 U.S.

Dist. LEXIS 189291, at *5-7. CMS has also devoted an entire section of the regulations and chapter

of the Medicare Managed Care Manual to providing direction to the Medicare Advantage

Organization with respect to providers. See 42 C.F.R. § 422.200 et seq.; Medicare Managed Care

Manual, Pub. 100-16, Ch. 6.2

          26.       CMS has established specific federal standards for Medicare Advantage

Organizations that are directly applicable to this litigation. CMS Medicare Marketing Guidelines

provide, in relevant part, that plans like WellCare “may not allow contracted providers to,” among

other things, “[m]ake phone calls or direct, urge or attempt to persuade beneficiaries to enroll in a

specific plan based on financial or other interests of the provider[.]” CMS, Medicare Marking

Guidelines, § 70.5.1. As the Petition concedes, “[u]nder CMS regulations […] INET was required

to not interfere with any patient enrollment upon WellCare’s termination of the contract.” Ex. A-

1, Pet., at ¶ 22.

          27.       WellCare was acting as a Medicare Advantage Organization at the direction of

CMS when it sent letters to INET and its physicians demanding that they stop violating federal

rules in their efforts to coerce their patients into switching Medicare Advantage plans. Ex. B at ¶¶

9-11; id. at Ex. 1 (quoting CMS guidance). The Petition invokes Texas law to seek to enjoin

WellCare from communicating with providers (that are currently contracted to render services to

members of WellCare’s plans) and informing them that the providers are violating CMS’


2
    The entire Medicare Managed Care Manual is available on CMS’ website: https://www.cms.gov/Regulations-and-
    Guidance/Guidance/Manuals/Internet-Only-Manuals-IOMs-Items/CMS019326.html.


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guidelines in their communications with WellCare’s members. Thus, there is a causal nexus

between WellCare’s actions under color of HHS/CMS and the allegations in the Petition.

       28.     WellCare’s ability to continue to contact and communicate with these contract

providers is also essential to WellCare’s compliance with network adequacy requirements.

WellCare “must ensure access to essential services, in accordance with 42 CFR 417.414, 42 CFR

417.416, 42 CFR 422.112(a)(1)(i) and 42 CFR 422.114(a)(3)(ii).” CMS, Medicare Advantage

Network Adequacy Criteria Guidance, § 1.3           WellCare must, therefore, “provide enrollees

healthcare services through a contracted network of providers that is consistent with the pattern

of care in the network service area[.]” Id. (emphasis added). These federal rules generally require

that MAOs contract with a certain number of providers within a certain geographic distance from

its members. See generally CMS, Medicare Advantage Network Adequacy Criteria Guidance. To

accomplish this, WellCare must have the ability to communicate directly with providers in order

to negotiate and establish contracts. See, e.g., id. at § 5 (discussing exception requests for network

adequacy criteria and noting valid and invalid rationales for not contracting with providers).

       29.     As the Petition recognizes, upon the termination of an IPA like INET from

WellCare’s network, providers have the option to contract directly with WellCare or with an in-

network IPA. Ex. A-1, Pet., at ¶ 21. If WellCare were enjoined from contacting these providers

to see if they are interested in remaining in-network with WellCare through a direct contract or

another IPA relationship, it would impede WellCare’s ability to comply with this federal

requirement and ensure its members (who are mostly senior citizens) may seek care from an

adequate number of contracted providers in their area.


3
     The    Medicare    Advantage     Network Adequacy   Criteria  Guidance     is  available  at
https://www.cms.gov/Medicare/Medicare-
Advantage/MedicareAdvantageApps/Downloads/MA_Network_Adequacy_Criteria_Guidance_Document_1-10-
17.pdf.


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       30.     Further, WellCare is required to notify its members of the termination of a

contracted provider at least 30 days before the termination effective date. 42 C.F.R. § 422.111(e).

This notification allows the Medicare beneficiaries time to prepare for a potential change in health

care providers to avoid interruption in the patient’s treatment. In order to determine whether it is

required to notify members of a provider’s termination, WellCare must first know if the provider

will choose to remain in-network or terminate its relationship with WellCare. Thus, WellCare

obviously must maintain direct communication with the providers to obtain this information.

       31.     Thus, WellCare’s alleged conduct occurred in the context of WellCare performing

its duties at the direction of CMS. Accordingly, there is a causal connection between what

WellCare, as a Medicare Advantage Organization, has done under color of CMS and the alleged

actions in the Petition. There is also a causal connection between the actions that the Petition seeks

to enjoin and what WellCare is required to continue to do to comply with federal law.

       D. WellCare Has Several Colorable Federal Defenses.

       32.     WellCare has several colorable federal defenses to INET’s claims.              “To be

‘colorable,’ the defense need not be ‘clearly sustainable,’ as the purpose of the statute is to ensure

that the validity of the defense will be determined in federal court. […] Instead, the ‘defense need

only be plausible; its ultimate validity is not to be determined at the time of removal.’” General

Surgical Assocs., 2014 U.S. Dist. LEXIS 189291, at *19 (internal citation removed).

               1.      Express Preemption

       33.     First, WellCare has the plausible federal defense of the express preemption

provision in the Medicare Act. Express preemption has been recognized as a colorable federal

defense for purposes of federal officer removal. General Surgical Assocs., 2014 U.S. Dist. LEXIS

189291, at *19; see also Assocs. Rehab. Recovery, Inc., 76 F. Supp. 3d at 1391-92 (noting, in the




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context of several preemption-based defenses, that “Defendant has colorable defenses to Plaintiff’s

claim[.]”); Mann, 2010 U.S. Dist. LEXIS 134821, at *11-12 (noting preemption, among other

defenses, and finding that “[t]hese defenses are plausible and therefore satisfy the "colorable

defense" requirement.”).

           34.      The Medicare Act contains an express preemption provision, the plain language of

which “itself suggests Congress intended broad preemption…” S. Tex. Health Sys. v. Care

Improvement Plus of Tex. Ins. Co., No. 7:14-CV-912, 2015 U.S. Dist. LEXIS 171381, at *8 (S.D.

Tex. Sep. 28, 2015). The express preemption provision states: “The standards established under

this part [42 U.S.C. § 1395w-21 et seq.] shall supersede any State law or regulation (other than

State licensing laws or State laws relating to plan solvency) with respect to [Medicare Advantage]

plans which are offered by [Medicare Advantage] organizations under this part.” 42 U.S.C. §

1395w-26 (b)(3); accord 42 C.F.R. § 422.402. Federal standards under the Medicare Act can

preempt not only state statutes and regulations, but also state law causes of action. See, e.g., Do

Sung Uhm v. Humana Inc., 620 F.3d 1134, 1158 (9th Cir. 2010) (finding that beneficiaries’ fraud

and state consumer protection claims were preempted by the Medicare Act).

           35.      Here, both the state law causes of action asserted in the Petition (and the current

TRO) are expressly preempted because they seek to impose state standards with respect to a

Medicare Advantage organization. INET’s state law claims for tortious interference, unfair

competition, and injunctive relief4 seek to impose state common law standards upon a Medicare

Advantage plan. Specifically, the Petition seeks to prohibit WellCare’s communications with

contracted providers. As discussed above, WellCare must communicate with providers in order

to satisfy its own obligations under federal law, including ensuring contracted providers comply



4
    Count Three of the Petition (Theft of Trade Secrets) is not directed at WellCare.


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with CMS’s rules, establishing an adequate network of contracted providers and notifying

members of any changes to the network status of their treating provider. Accordingly, WellCare

has a colorable dispositive federal defense that INET’s claims are barred by the express preemption

provision.

               2.      Conflict Preemption

       36.     For similar reasons, WellCare also has a colorable federal defense of conflict

preemption. Conflict preemption exists where “it is impossible for a private party to comply with

both state and federal law,” or “where under the circumstances of a particular case, the challenged

state law stands as an obstacle to the accomplishment and execution of the full purposes and

objectives of Congress.” Crosby v. Nat’l Foreign Trade Council, 530 U.S. 363, 372-73 (2000)

(internal citations and quotations omitted).

       37.     Here, the Petition seeks to impose purported state law standards to prohibit

WellCare from informing its contracted providers about actions that they may be taking that CMS

Medicare Marketing Guidelines forbid. Here, the proposed state standard of preventing WellCare

from communicating with providers directly conflicts with (or at a minimum stands as an obstacle

to comply with) CMS’s requirement that MAOs confirm that their contracted providers comply

with CMS’s marketing rules. Therefore, WellCare has a colorable dispositive federal defense that

INET’s claims are barred by the conflict preemption doctrine.

               3.      Compliance with Federal Law

       38.     Moreover, WellCare has the defense that its actions comply with federal laws,

regulations and applicable agency guidance as described above. Regulatory compliance and

compliance with relevant standards are recognized as cognizable affirmative defenses in federal

court. See, e.g., Hardy v. Zimmer, No. 2:16-cv-242-JRG, 2017 U.S. Dist. LEXIS 65430, at *22




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(E.D. Tex. Apr. 28, 2017) (denying plaintiff’s summary judgment motion as to regulatory

compliance and compliance with relevant standards defenses).

        39.    Here, CMS has established rules that obligate Medicare Advantage plans like

WellCare to ensure that contracted providers refrain from, among other things, using their position

of trust with patients to market specific Medicare Advantage plans to them. WellCare learned that

some of its contracted providers were violating these rules and demanded that they stop the

improper behavior. The Petition seeks to prevent WellCare from ensuring its contract providers

comply with federal law. Thus, WellCare has the defense that it was complying with these

standards in sending the cease and desist letters complained about in the Petition.

        40.    Accordingly, and for all of the foregoing reasons, this action is properly removed

to this Court under the Federal Officer Statute because WellCare was acting as a Medicare

Advantage Organization at the direction of CMS while performing the alleged actions in the

Petition.

                                          CONCLUSION

        WHEREFORE, Defendant WellCare of Texas, Inc. removes this action from the 295th

Judicial District Court of Harris County, Texas to the United States District Court for the Southern

District of Texas, Houston Division, so that this Court may assume jurisdiction over the cause as

provided by law, and seek any other relief to which they may be justly entitled.

        DATED and FILED on April 29, 2018




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                                      Respectfully submitted,

                                      /s/ Greg R. Wehrer
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                                         ATTORNEYS FOR DEFENDANT WELLCARE
                                         OF TEXAS, INC.




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                                CERTIFICATE OF SERVICE

        I hereby certify that a true and correct copy of the foregoing instrument was served upon
the following counsel of record via certified mail, return receipt requested and electronic mail on
this 29th day of Apil, 2018.

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                                                     /s/ Greg R. Wehrer
                                                     Greg R. Wehrer




NOTICE OF REMOVAL                                                                               16
